                                                                                                                     United States Courts
                Case 4:22-mj-00107 Document 16 Filed on 07/03/24 in TXSD Southern
                                                                          Page 1 District
                                                                                  of 105of Texas
 AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means
                                                                                                                              &/>ED
               Sealed
Public and unofficial staff access
                                       UNITED STATES DISTRICT COURT                                                    January 14, 2022
     to this instrument are                                        for the                                     EaƚŚĂŶKĐŚƐŶĞƌ, Clerk ofCourt
   prohibited by court order
                                                         Southern District of __________
                                                      __________              Texas

               In the Matter of the Search of                                 )
          (Briefly describe the property to be searched                       )                            4:22-mj-107
           or identify the person by name and address)                        )              Case No.
                                                                              )
                                                                              )
                                                                              )

     APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
         I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
 penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
 property to be searched and give its location):



 located in the             Southern               District of                    Texas                  , there is now concealed (identify the
 person or describe the property to be seized):




           The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                ✔ evidence of a crime;
                u
                                                                                                                        TRUE COPY I CERTIFY
                ✔ contraband, fruits of crime, or other items illegally possessed;
                u                                                                                                       ATTEST: 1/15/22
                                                                                                                        1A7+$1 2&+61(5, Clerk of Court
                  ✔ property designed for use, intended for use, or used in committing a crime;
                  u
                                                                                                                        By: V*HRUJH.HOQHU
                  u a person to be arrested or a person who is unlawfully restrained.                                                          Deputy Clerk


           The search is related to a violation of:
              Code Section                                                                Offense Description



           The application is based on these facts:
         See attached Affidavit.

            ✔ Continued on the attached sheet.
            u
            u Delayed notice of        days (give exact ending date if more than 30 days:                                     ) is requested under
              18 U.S.C. § 3103a, the basis of which is set forth on the attach


                                                                                                        Applicant’s signature

                                                                                                                    Special Agent
                                                                                                        Printed name and title

 Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
               telephonic communication                (specify reliable electronic means).


 Date:        January 14, 2022
                                                                                                          Judge’s signature

 City and state: Houston, Texas                                                     Andrew M. Edison, United States Magistrate Judge
                                                                                                        Printed name and title
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            Sealed
Public and unofficial staff access
     to this instrument are
   prohibited by court order
                                      UNITED STATES DISTRICT COURT
                                       SOUTHERN DISTRICT OF TEXAS
                                           HOUSTON DIVISION


          IN THE MATTER OF THE SEARCH OF                                  4:22-mj-107
                                                               CASE NO._______________


                                                               UNDER SEAL


                                      AFFIDAVIT IN SUPPORT OF
                                 AN APPLICATION UNDER RULE 41 FOR A
                                   WARRANT TO SEARCH AND SEIZE

                I,                       , Special Agent of the Federal Bureau of Investigation, being duly

         sworn, depose and state that:

                                                  INTRODUCTION

                1.      I make this affidavit in support of an application under Rule 41 of the Federal Rules

         of Criminal Procedure for a warrant to search the premises known as

                                                                                              for the things

         described in Attachment B.

                2.




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       3.      Based on my training and experience and the facts as set forth in this affidavit, there

is probable cause to believe that violations




                                                     ) (hereinafter, the “Target Offenses”) have been



1




2
  FARA requires certain individuals who are engaged in specified activities on behalf of foreign
principals—including political and public relations activity—to register with the Attorney General
and provide disclosures about their activity so that the U.S. government and the people of the
United States are informed of the source of information and the identity of persons attempting to
influence U.S. public opinion, policy, and law. FARA imposes criminal penalties on any person
who willfully violates any provision of the Act. Section 219, Title 18, United States Code,



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committed by: Henry Cuellar, Imelda Cuellar, Mina “Colin” Strother, Irada Akhoundova,

                                  , Florencio “Lencho” Rendon, and others known and unknown.

There is also probable cause to search the PREMISES described in Attachment A for evidence,

instrumentalities, contraband, or fruits of these crimes further described in Attachment B.

                                     PROBABLE CAUSE

                                          Introduction

       4.                                         , the Federal Bureau of Investigation (“FBI”), in

partnership with the Department of State Office of the Inspector General (“DOS-OIG”), has been

investigating allegations of bribery, corrupt foreign influence, and related criminal activity

involving Henry Cuellar (Cuellar), the sitting United States Congressman representing Texas’s

28th Congressional District (Laredo and San Antonio and surrounding areas), as well as

individuals representing the Government of Azerbaijan; individuals and companies domiciled in

Mexico;



       5.      Since at least 2014, Cuellar has accepted large, repeated payments through apparent

shell companies established by his wife, Imelda Cuellar, who conducts no apparent legitimate

business in exchange for the payments. The funds funneled to Cuellar, through his wife’s

businesses, stem from two principal sources: (1) foreign principals 3 in Azerbaijan, including the

Government of Azerbaijan, or the agents of such foreign principals in the United States (“AZ



prohibits public officials, including Members of Congress, from engaging in registerable activity
under FARA.
3
 Under FARA, the term “foreign principal” includes a foreign government or political party, a
person outside the Untied States who is not a citizen of and domiciled within the United States,
and a partnership, corporation, or other business entity organized under the laws of or having its
principal place of business in a foreign country. 22 U.S.C. § 611(b).


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Schemes”); and (2) foreign principals in Mexico, or the agents of such foreign principals in the

United States (“MX Scheme”). In total, from 2014 to 2019, as described in more detail below,

Cuellar and Imelda Cuellar appear to have accepted more than $575,000 originating in Azerbaijan

and Mexico.



       6.     Based on the investigation to date, as described in detail below, there is probable

cause to believe that Cuellar accepted these payments originating in Azerbaijan and Mexico,

through Imelda Cuellar’s shell companies, in return for being influenced in the performance of

official acts in his capacity as a Member of Congress,




                                       The AZ Schemes

                               Relevant Individuals and Entities

       7.     The Republic of Azerbaijan (“Azerbaijan”) is a former Soviet republic that gained

independence in 1991.                                                                 is a wholly

state-owned national oil and gas company headquartered in Baku, Azerbaijan.

       8.




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       9.      Irada Akhoundova (“Akhoundova”) is a naturalized United States citizen from

Azerbaijan. Akhoundova was or is the president, owner, or manager of several companies relevant

to the investigation, including                                            the U.S. subsidiary of

                                              a business headquartered in Baku, Azerbaijan, that

purports to provide financial and consulting services and operates branch offices in various

international locations.          is registered in Delaware, Texas, and the District of Columbia,

and Akhoundova was its president from approximately 2014 to 2017.



       10.                                                                     was Azerbaijan’s

Ambassador to the United States from approximately October 2011 until July 2021.

previously served as Consul General to Azerbaijan’s consulate in Los Angeles beginning in or

about November 2005.

       11.                                           is a citizen of Azerbaijan and a



                                                                                        Between

approximately 2006 and 2010,                 served as Vice Consul at Azerbaijan’s consulate in

Los Angeles, serving directly under                           is now the owner, president, and/or

director of several companies




                                                5
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       12.    Mina “Colin” Strother (“Strother”) is a U.S. citizen who works as a political

campaign consultant                                    . Previously, Strother served as Chief of

Staff to Cuellar. During the relevant period of investigation, Strother operated a consulting

company known as                            . Cuellar has retained Strother for work on Cuellar’s

reelection campaigns and as a political consultant and media spokesperson.




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       28.     Within two weeks, on or about September 23, 2014, Imelda Cuellar filed with the

state of Texas for the conversion of     —which had been an incorporated company since 2012

but appears to have been inactive—to a Limited Liability Corporation.




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         35.




         36.   On November 29, 2014, Imelda Cuellar sent another email to                 , again

copying         this time including an invoice for the services allegedly performed by        on

behalf of




         37.   On December 1, 2014, the         account received a $60,000 internal bank transfer

from a         account owned by




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  39.




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       43.     For the six-month period following the initial $60,000 payment from

there is no evidence that Imelda Cuellar provided any legitimate services through




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           The Cuellars Accept Additional Azerbaijani Funds Through
           Second Contract on which Imelda Cuellar Did Not Perform

  45.




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       49.     On June 25, 2015,           account received another $60,000 deposit, this time in

the form of an international wire transfer directly from                                in Baku,




                                               17
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Azerbaijan.




  Cuellars Pause Their Acceptance of Azerbaijani Funds During Period of Increased Scrutiny

       52.     After the June 2015 payment to           , payments from Azerbaijan to Imelda

Cuellar and Cuellar stopped—just as various investigations into, and media coverage of,

Azerbaijan’s secret lobbying activities and        role in those activities was launched.

       53.     In May 2015, multiple major media outlets issued reports regarding an Office of

Congressional Ethics (“OCE”) investigation




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        54.




        Cuellars Resume Scheme to Accept Azerbaijani Funds Through Another Shell Contract

        57.    Beginning in January 2018, Imelda Cuellar again began to accept large payments,

routed through apparent shell companies, from Azerbaijan. In the months leading up to the

resumption of these payments, Cuellar and               exchanged repeated communications in

which              asked Cuellar for various actions, including as described below.

        58.    On March 31, 2017, Cuellar messaged                 stating: “Submitted language

today.” In response,            stated: “You are the best El Jefe!” Cuellar responded: “Yes sir.”

        59.




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                                  20
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        65.        On September 1, 2017,                    messaged Cuellar stating:




                       regarding funding for demining projects in Azerbaijan. Cuellar responded

approximately 20 minutes later, “I see it. We work on it.”                 replied, “Thank you Boss!”

        66.        Five days later, on September 6, 2017,               again messaged Cuellar about

the legislation.                asked Cuellar whether he knew Congressperson 1 and whether there

was “[a]ny chance of talking him into withdrawing his amendment or no way?”                    noted

that the legislation was “[c]oming up on the floor today.” Cuellar responded, “I will ask him.”

        67.




7
 Based on information I have gained in the course of this investigation, I am aware that Azerbaijan
and Armenia share a border and have historically competed for support from the United States.


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       68.     On September 27, 2017,                messaged Cuellar again about his daughter’s

passport matter.




       71.     Over the next few days,                  and Cuellar exchanged messages about

Cuellar meeting in San Antonio, Texas, with                  “folks” and “friends,” and based on

the messages, a lunch meeting appears to have occurred on Friday, October 6, 2017, at a

                   in San Antonio.

       72.     Various records establish that Azerbaijan was responsible for the creation of a new

company—                       —that, as demonstrated later in this Affidavit, was ultimately the

vehicle for resumed, concealed payments from Azerbaijan to Cuellar. Records filed with the State

of Texas on August 22, 2017, show that

                                           —served as the registered agent and sole manager for a

new Texas corporation called




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       73.                                                          was wholly owned by an

Azerbaijan-based company,                                      ,




       74.                                                                     is a foreign

construction and engineering firm based in Baku, Azerbaijan.




       76.    On September 26, 2017,

                                                                   , the           account

received a $250,000 wire transfer from Azerbaijan.




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       78.    On November 6, 2017, Imelda Cuellar e-mailed Henry Cuellar a document, titled:

“Articles of Organization for                         docx” with the request: “Please review.

Thanks.” The attached document was a one-page article of organization for a new company called




       79.




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         81.     On January 24, 2018, Imelda Cuellar opened checking and savings accounts with

                   on behalf of                     .




         82.

           on January 29, 2018,              made a series of large check deposits, detailed in the

below table, from                   account into                         account, totaling $210,000

traceable to the original transfer of $250,000 from Azerbaijan to               :

                                            TABLE 2
                 2017-2019 Payments from                     to
       Date     Check # Amount                          Check or Wire Memo Line
    1/29/2018    1002     $20,000                          / “Consulting Services”
     3/8/2018    1003     $40,000                          / “Consulting Services”
    5/15/2018    1004     $40,000                          / “Consulting Services”
    7/18/2018    1006     $40,000                          / “Consulting Services”
    9/27/2018    1007     $40,000                          / “August - September 2018”
    3/19/2019    1027     $30,000                          / “1/2 October, November, December”

         83.     On January 9, 2019, an additional check for $30,000, bearing the memo line “2018

Outstanding balance,” was

                                   —and                 deposited into                    account.


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This additional $30,000 payment from             brought the total payments from

            to                 to $240,000.

      84.




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  88.




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                     Cuellar’s Contacts with Azerbaijani Foreign Principals

       89.     In January 2013,         privately sponsored and funded a trip, through          , for

Cuellar and Imelda Cuellar to Istanbul, Turkey and Baku, Azerbaijan, during the approximate time

period of January 5 to January 13, 2013.




       92.     In sum, during the January 2013 trip, Cuellar and Imelda Cuellar travelled to

Azerbaijan together, were introduced to representatives of the same entities that later routed veiled

payments to the Cuellars, and the trip was funded by         , who appears to have been part of the

scheme to route Azerbaijani funds to the Cuellars and is known to have been acting on behalf of

Azerbaijani interests at the time.




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      93.




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      96.                       received its first payment of $20,000 from Azerbaijan through

            on or about January 30, 2018,                                               , and

a second payment of $40,000 from                 on March 9, 2018,

                   . On May 15, 2018,

                             received a third payment of $40,000 from              .

      97.




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                              Cuellar’s Acts Beneficial to Azerbaijan

       98.     During the relevant time under investigation, including periods of time in which

Imelda Cuellar’s companies were receiving funds from foreign principals tied to Azerbaijan,

Cuellar took extensive action that promoted the political interests of Azerbaijan, including, but not

limited to:



                                                                        .




                                 Relevant Individuals and Entities

       100.    Florencio “Lencho” Rendon (“Rendon”) is a businessman and former Chief of Staff

to a now-retired Member of Congress. He is the current President of both

         and                       ., which are related, financially interconnected consulting firms

based in the Corpus Christi, Texas area.




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       103.    In addition, as described in detail below, the investigation has discovered a series

of financial transactions originating in Mexico, passing through Rendon’s                     , and

ultimately funneled into the account of one of Imelda Cuellar’s shell companies.

           Cuellars Accept Large Payments Funneled from Mexico, Through Rendon

       104.    As part of the              , the investigation has identified a pattern of financial

transactions between 2016 and 2018, which originated with foreign principal accounts at

        based in Mexico; moved through international banks in Spain; were then funneled through

various U.S. bank accounts of the Cuellars’ associates; and then were deposited into one of Imelda

Cuellar’s shell companies,        . This pattern, as traced backward from the           account, is

described in detail below.




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       105.    Between 2016 and 2018, Imelda Cuellar’s          account received approximately

$215,000—in 18 separate checks and wire transfers, ranging from approximately $10,000 to

$20,000—from Strother’s business account




                                                           The 18 payments are detailed in the

table below:

                                       TABLE 3
                 2016-2018 Payments from                           to
      Date          Method       Check #   Amount              Check or Wire Memo Line
   3/29/2016     Cashier’s Check 354726    $10,000                 “January Payment”
   3/29/2016     Cashier’s Check 354728    $10,000                “Fedruary Payment”
   4/22/2016      Wire Transfer   N/A       $9,990                          ---
    6/8/2016      Wire Transfer   N/A      $19,990                “April-May Invoice”
   7/20/2016      Wire Transfer   N/A      $10,000                    “June Invoice”
    9/1/2016      Wire Transfer   N/A      $10,000                          ---
   9/26/2016      Wire Transfer   N/A      $10,000                          ---
   11/1/2016      Wire Transfer   N/A      $10,000                   “Sept. Payment”
  12/27/2016      Wire Transfer   N/A      $19,970                          ---
    3/7/2017      Wire Transfer   N/A       $9,990                 “January Payment”
    4/4/2017      Wire Transfer   N/A      $10,000                  “March Payment”
   5/20/2017     Cashier’s Check 616686    $10,000                   “April Payment”
   6/21/2017      Wire Transfer   N/A       $9,950                   “April Payment”
   7/26/2017     Cashier’s Check 657900    $10,000                   “June Payment”
    9/1/2017     Cashier’s Check 682472    $10,000                   “June Payment”
   11/1/2017     Cashier’s Check 719321    $15,000              “August and September”
  12/29/2017     Cashier’s Check 755691    $10,000                     “November”
   1/25/2018     Cashier’s Check 772497    $20,000            “November & December Fee”

       106.    As described above, Strother is a known associate and former staffer of Cuellar.




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       107.   Preceding each of these payments from Strother                 to Imelda Cuellar’s

       account, financial records show there is a corresponding payment, or nearly corresponding

payment, made to                       from            or                   in the form of checks

signed by Rendon.

       108.   The table below reflects 21 payments, $242,000 from bank accounts in the name of

Rendon’s companies,              and                  , that were made to

before Strother funneled the payments on to        Imelda Cuellar’s shell company:


                                              TABLE 4
     2016-2018 Payments to                        from Rendon-Controlled Companies
      Date     Method Check #          Amount            Check or Wire Memo Line
   3/24/2016    Check      1565        $22,000              “           Consulting”
    4/8/2016    Check      1567        $11,000             “Monthly Consulting Fee”
    6/3/2016    Check      1589        $11,000                 “March Services”
    6/3/2016    Check      1590        $11,000                  “April Services”
   7/14/2016    Check      1568        $11,000                 “June           ”
    8/8/2016    Check      1607        $11,000         “July Payment             Project”
   9/14/2016    Check      1611        $11,000                     “August”
  10/20/2016 Check         1622        $11,000           “Consulting             Sept”
   12/8/2016    Check      1569        $11,000                       “Nov”
  12/20/2016 Check         1633        $11,000             “Dec Invoice Consulting”
   2/13/2017    Check      1648        $11,000            “Jan Payment per Contract”
   3/20/2017    Check      1667        $11,000                   “Feb Payment”
   4/17/2017    Check      1678        $11,000                      “March”
   5/29/2017    Check      1681        $11,000                  “Apr. Payment”
   6/28/2017    Check      1695        $11,000                       “May”


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    8/7/2017        Check    1706     $11,000                          “June”
    9/7/2017        Check    1718     $11,000                        “July 2017”
   9/22/2017        Check    1721     $11,000                           “Aug”
  10/16/2017        Check    1728     $11,000                          “Sept”
  12/15/2017        Check    1221     $11,000                           “Nov”
  12/27/2017        Check    1750     $11,000                           “Dec”

       109.




       110.    A review of financial records indicates that the funds funneled from Rendon to

Strother (through                     ), and then ultimately to Imelda Cuellar, originated from

               in Mexico, where they were routed through international banks in Spain before

ultimately being sent to an intermediary company,

               , before being sent to Rendon’s companies.       Records obtained during this

investigation show that                      is a California and Delaware corporation affiliated

through common ownership in Mexico with




       111.    As detailed in the table below, wire transfer records for

        account show that between February 2016 and January 2019,                         made

31 wire transfers and one check payment to              for a total of $540,000 from a

               account.




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                                           TABLE 5
                  2016-2019 Payments from                      to
   Date      Method Amount                    Check or Wire Memo Line
2/22/2016     Wire   $30,000          “                 INVOICES 1164, 1165”
3/15/2016     Wire   $15,000        “                  MARCH INVOICE-1166”
 4/7/2016    Check $15,000                          “INV#1168”
4/26/2016     Wire   $15,000              “                 INVOICES 1168”
6/17/2016     Wire   $15,000              “                 INVOICES 1170”
7/15/2016     Wire   $15,000               “                INVOICE 1172”
 9/6/2016     Wire   $15,000               “                 INVOICE 1173”
9/22/2016     Wire   $15,000           “                 SEPT INVOICE 1174”
11/1/2016     Wire   $30,000           “                 INVOICE 1175, 1176”
12/8/2016     Wire   $15,000           “                  DEC INVOICE 1181”
 2/1/2017     Wire   $15,000            “                 JAN INVOICE 1184”
2/22/2017     Wire   $15,000            “                 FEB INVOICE 1185”
3/21/2017     Wire   $15,000               “                 INVOICE 1186”
4/13/2017     Wire   $15,000          “                 APRIL INVOICE 1190”
5/24/2017     Wire   $15,000               “                 INVOICE 1191”
 6/7/2017     Wire   $15,000          “                  JUNE INVOICE 1192”
7/27/2017     Wire   $15,000   “                 INVOICE 1195” & “JULY CONSULTING
                                                     FEES”
 9/12/2017    Wire   $30,000          “AUG, SEPT INVOICES INV 1196-1197”
10/19/2017    Wire   $15,000                             INVOICE 1204”
 11/7/2017    Wire   $15,000            “                INVOICE 1205”
12/15/2017    Wire   $15,000                           DEC INVOICE 1206”
 2/21/2018    Wire   $30,000                          INVOICES 1207,1208”
 3/16/2018    Wire   $15,000                             INVOICE 1209”
 3/22/2018    Wire   $15,000            “                INVOICE 1209”
 5/22/2018    Wire   $15,000                    “INVOICE 1211”
  6/4/2018    Wire   $15,000                    “INVOICE 1212”
 7/13/2018    Wire   $15,000                 “JULY INVOICE 1213”
 8/10/2018    Wire   $15,000            “                INVOICE 1214”
 9/10/2018    Wire   $15,000            “                INVOICE 1215”
10/16/2018    Wire   $15,000            “                INVOICE 1216”
11/23/2018    Wire   $15,000            “                INVOICE 1217”
  1/9/2019    Wire   $15,000            “                INVOICE 1218”




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       112.      As reflected in the above table, the transfers from                    to

began on February 22, 2016, immediately prior to the start of Rendon’s payments to Strother

              The payments, nearly all by interstate wire, continued approximately monthly or bi-

monthly in amounts of either $15,000 or $30,000 until January 2019. The $30,000 payments

typically occurred when there had been no $15,000 transfer the previous month, indicating that the

$30,000 transfer was made in lieu of two $15,000 transfers.

       113.                                                                , records reviewed to date

indicate that the entirety of funds used by                       to pay           ($540,000) flowed




                                                        Open-source information regarding

suggests that            is engaged in the business of currency exchange, primarily in Europe, with

the ability to convert Mexican currency to U.S. dollars.

       114.




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                      The Cuellars’ Contacts with Foreign Principals Based in Mexico

       116.




       117.                    is based in Mexico City and has a significant market presence in

lower-income sectors with customers seeking microlending, microfinance, and consumer

financing services.



         holdings also include U.S.-based company

              a payday lending microfinance company



       118.




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       121.    A search of Imelda Cuellar’s email accounts indicated that on January 23, 2015,

Imelda Cuellar received an email from                              believed to be the corporate

email account of




       122.    The attachment to this email from       , employed by                in Mexico,

was a draft version of a consulting contract between     and




                                                         The contract proposed a consulting

agreement between          to assist                              in developing correspondent

banking relationships with banks in the United States.




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       123.    On April 19 to 20, 2015, Cuellar engaged in a series of messages with           by

WhatsApp related to the contract, as follows in pertinent part:

       CUELLAR: Did you get my email on C banking?

                  Yes. I will send you our suggestions later this evening. Abrazo




       CUELLAR: Got your input. I have reviewed it and it’s good, I am submitting to the
       committee tomorrow. I will keep you posted.

                  Muchas gracias. Fuerte abrazo

       124.




       125.    Cuellar and         engaged in a similar WhatsApp conversation between June 9 to

17, 2015, as follows in pertinent part:

       CUELLAR: Did u get my email?


                                 I did you’re your mail message. That is a very valuable proposal.
       What is the procedure it must follow? Un abrazo.

       CUELLAR: I am trying to add language in two different bills. As soon as I am successful
       I will advise you. It’s looking good.




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                                                                   11
                 Thank you so much. I will get together with            next week. All the best.

       CUELLAR: Language added in committee

               : Great news, Please let me know if we can be of further help. Our dialogue with
       Mex and US regulators still moving forward.

       126.




Between October 14 and 16, Cuellar and         then engaged in the following conversation over

WhatsApp, in pertinent part:

       CUELLAR: At your convenience, please call Mr. Rendon about the contract.




                                              42
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       130.    On October 28, 2015, Imelda Cuellar emailed          a draft contract between

        and




       132.    Also on October 28, 2015, Cuellar communicated again with      by WhatsApp

as follows in pertinent part:

       CUELLAR:                          Imelda sent you this morning her contract for your
       review.




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                 Concurrent with These Concealed Payments,
                        Interests Were at Stake in the U.S. Congress

       138.   Various issues affecting               were at stake in the U.S. Congress at the

same time that the Cuellars were receiving payments through Imelda Cuellar’s shell company.

       139.




                                             45
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       140.




       142.     Related to                 and payday lending, in 2016, Cuellar communicated

with          by way of WhatsApp. For example, on January 23 to 25, 2016, they exchanged the

following relevant messages:

       CUELLAR: Who is your person in charge of Pay loans?




       CUELLAR: There is legislation that may affect you.

       143.




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 The Cuellars’ Suspected Use of,                                      Proceeds of the Schemes

   Cuellars Spend Foreign-Based Proceeds on Personal, Rather than Business, Expenditures

       145.    To date, the Cuellars have used the proceeds traceable to Azerbaijan and Mexico-

based banks to purchase consumer goods for personal use, including vehicles and clothing, and

pay personal and tax debts rather than any actual business-related expenses. For example, after

receiving the proceeds traceable to         and other Azerbaijan-based entities, the Cuellars used

these funds to pay for goods and services



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                                         , and payments against credit card accounts and debts

associated with several of these retailers. The FBI’s financial analysis has identified that in

addition, both        and                       have paid thousands of dollars in rent for office

space allegedly used—all within a building owned by Cuellar.




                       Subjects Have Not Registered Pursuant to FARA

       148.

                  there are no records indicating that the following individuals and entities have

ever registered under FARA or notified the Attorney General via the National Security Division




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that they have been acting as an agent of a foreign government pursuant to 18 U.S.C. § 951 and

28 C.F.R. § 73.3(a) 12:




       Irada Akhoundova




       149.




12
  Pursuant to 28 C.F.R. § 73.3(b) and (c), foreign agents engaged in certain law enforcement or
MXGLFLDO DFWLYLWLHV PD\ PDNH WKHLU QRWLILFDWLRQV WR ,QWHUSRO DQ )%, /HJDO $WWDFKp RU WKH
Department of Justice’s Office of International Affairs.




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  154.




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        d.




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                              Conclusion

  196.




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                   THE PREMISES TO BE SEARCHED

                   DESCRIPTION OF THE PREMISES

  197.




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                 PROBABLE CAUSE TO SEARCH THE PREMISES

       200.




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       208.    As further described below and in Attachment B, and based upon a review of

subscriber information, bank records, and internet provider records, I believe there is evidence that

computers and other storage media used in furtherance of the criminal activity, or containing

evidence of the criminal activity, described in this Affidavit, are present at the PREMISES.

        COMPUTERS, ELECTRONIC STORAGE, AND FORENSIC ANALYSIS

       209.    As described above and in Attachment B, this application seeks permission to

search for records that might be found on the PREMISES, in whatever form they are found. One

form in which the records are likely to be found is data stored on a computer hard drives or on

other digital storage media. Thus, the warrant applied for would authorize the seizure of electronic

storage media or, potentially, the copying of electronically stored information, all under Rule

41(e)(2)(B).

       210.    Probable cause. I submit that if a computer or storage medium is found on the

PREMISES, based on the facts supporting probable cause as discussed above and known, there is

probable cause to believe those records will be stored on that computer or storage medium, for at

least the following reasons:

               a.      Based on my knowledge, training, and experience, I know that computer

files or remnants of such files can be recovered months or even years after they have been

downloaded onto a storage medium, deleted, or viewed via the Internet.              Electronic files

downloaded to a storage medium can be stored for years at little or no cost. Even when files have

been deleted, they can be recovered months or years later using forensic tools. This is so because




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when a person “deletes” a file on a computer, the data contained in the file does not actually

disappear; rather, that data remains on the storage medium until it is overwritten by new data.

               b.      Therefore, deleted files, or remnants of deleted files, may reside in free

space or slack space—that is, in space on the storage medium that is not currently being used by

an active file—for long periods of time before they are overwritten. In addition, a computer’s

operating system may also keep a record of deleted data in a “swap” or “recovery” file.

               c.      Wholly apart from user-generated files, computer storage media—in

particular, computers’ internal hard drives—contain electronic evidence of how a computer has

been used, what it has been used for, and who has used it. To give a few examples, this forensic

evidence can take the form of operating system configurations, artifacts from operating system or

application operation, file system data structures, and virtual memory “swap” or paging files.

Computer users typically do not erase or delete this evidence, because special software is typically

required for that task. However, it is technically possible to delete this information.

               d.      Similarly, files that have been viewed via the Internet are sometimes

automatically downloaded into a temporary Internet directory or “cache.”

       211.    Forensic evidence. As further described in Attachment B, this application seeks

permission to locate not only computer files that might serve as direct evidence of the crimes

described on the warrant, but also for forensic electronic evidence that establishes how computers

were used, the purpose of their use, who used them, and when. There is probable cause to believe

that this forensic electronic evidence will be on any storage medium in the PREMISES because:

               a.      Data on the storage medium can provide evidence of a file that was once on

the storage medium but has since been deleted or edited, or of a deleted portion of a file (such as

a paragraph that has been deleted from a word processing file). Virtual memory paging systems




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can leave traces of information on the storage medium that show what tasks and processes were

recently active.    Web browsers, email programs, and chat programs store configuration

information on the storage medium that can reveal information such as online nicknames and

passwords. Operating systems can record additional information, such as the attachment of

peripherals, the attachment of USB flash storage devices or other external storage media, and the

times the computer was in use. Computer file systems can record information about the dates files

were created and the sequence in which they were created, although this information can later be

falsified.

               b.     As explained herein, information stored within a computer and other

electronic storage media may provide crucial evidence of the “who, what, why, when, where, and

how” of the criminal conduct under investigation, thus enabling the United States to establish and

prove each element or alternatively, to exclude the innocent from further suspicion. In my training

and experience, information stored within a computer or storage media (e.g., registry information,

communications, images and movies, transactional information, records of session times and

durations, internet history, and anti-virus, spyware, and malware detection programs) can indicate

who has used or controlled the computer or storage media. This “user attribution” evidence is

analogous to the search for “indicia of occupancy” while executing a search warrant at a residence.

The existence or absence of anti-virus, spyware, and malware detection programs may indicate

whether the computer was remotely accessed, thus inculpating or exculpating the computer owner.

Further, computer and storage media activity can indicate how and when the computer or storage

media was accessed or used. For example, as described herein, computers typically contain

information that log: computer user account session times and durations, computer activity

associated with user accounts, electronic storage media that connected with the computer, and the




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IP addresses through which the computer accessed networks and the internet. Such information

allows investigators to understand the chronological context of computer or electronic storage

media access, use, and events relating to the crime under investigation. Additionally, some

information stored within a computer or electronic storage media may provide crucial evidence

relating to the physical location of other evidence and the suspect. For example, images stored on

a computer may both show a particular location and have geolocation information incorporated

into its file data. Such file data typically also contains information indicating when the file or

image was created. The existence of such image files, along with external device connection logs,

may also indicate the presence of additional electronic storage media (e.g., a digital camera or

cellular phone with an incorporated camera). The geographic and timeline information described

herein may either inculpate or exculpate the computer user. Last, information stored within a

computer may provide relevant insight into the computer user’s state of mind as it relates to the

offense under investigation. For example, information within the computer may indicate the

owner’s motive and intent to commit a crime (e.g., internet searches indicating criminal planning),

or consciousness of guilt (e.g., running a “wiping” program to destroy evidence on the computer

or password protecting/encrypting such evidence in an effort to conceal it from law enforcement).

               c.     A person with appropriate familiarity with how a computer works can, after

examining this forensic evidence in its proper context, draw conclusions about how computers

were used, the purpose of their use, who used them, and when.

               d.     The process of identifying the exact files, blocks, registry entries, logs, or

other forms of forensic evidence on a storage medium that are necessary to draw an accurate

conclusion is a dynamic process. While it is possible to specify in advance the records to be

sought, computer evidence is not always data that can be merely reviewed by a review team and




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passed along to investigators. Whether data stored on a computer is evidence may depend on other

information stored on the computer and the application of knowledge about how a computer

behaves. Therefore, contextual information necessary to understand other evidence also falls

within the scope of the warrant.

               e.      Further, in finding evidence of how a computer was used, the purpose of its

use, who used it, and when, sometimes it is necessary to establish that a particular thing is not

present on a storage medium. For example, the presence or absence of counter-forensic programs

or anti-virus programs (and associated data) may be relevant to establishing the user’s intent.

       212.    Necessity of seizing or copying entire computers or storage media. In most cases,

a thorough search of a premises for information that might be stored on storage media often

requires the seizure of the physical storage media and later off-site review consistent with the

warrant. In lieu of removing storage media from the premises, it is sometimes possible to make an

image copy of storage media. Generally speaking, imaging is the taking of a complete electronic

picture of the computer’s data, including all hidden sectors and deleted files. Either seizure or

imaging is often necessary to ensure the accuracy and completeness of data recorded on the storage

media, and to prevent the loss of the data either from accidental or intentional destruction. This is

true because of the following:

               a.      The time required for an examination. As noted above, not all evidence

takes the form of documents and files that can be easily viewed on site. Analyzing evidence of

how a computer has been used, what it has been used for, and who has used it requires considerable

time, and taking that much time on premises could be unreasonable. As explained above, because

the warrant calls for forensic electronic evidence, it is exceedingly likely that it will be necessary

to thoroughly examine storage media to obtain evidence. Storage media can store a large volume




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of information. Reviewing that information for things described in the warrant can take weeks or

months, depending on the volume of data stored, and would be impractical and invasive to attempt

on-site.

                  b.    Technical requirements. Computers can be configured in several different

ways, featuring a variety of different operating systems, application software, and configurations.

Therefore, searching them sometimes requires tools or knowledge that might not be present on the

search site. The vast array of computer hardware and software available makes it difficult to know

before a search what tools or knowledge will be required to analyze the system and its data on the

Premises. However, taking the storage media off-site and reviewing it in a controlled environment

will allow its examination with the proper tools and knowledge.

                  c.    Variety of forms of electronic media. Records sought under this warrant

could be stored in a variety of storage media formats that may require off-site reviewing with

specialized forensic tools.

           213.   Nature of examination.   Based on the foregoing, and consistent with Rule

41(e)(2)(B), the warrant I am applying for would permit seizing, imaging, or otherwise copying

storage media that reasonably appear to contain some or all of the evidence described in the warrant

and would authorize a later review of the media or information consistent with the warrant. The

later review may require techniques, including but not limited to computer-assisted scans of the

entire medium, that might expose many parts of a hard drive to human inspection in order to

determine whether it is evidence described by the warrant.

           214.   Because several people share the PREMISES, for example in the instance of a

residence, as discussed above, it is possible that the PREMISES will contain storage media that

are predominantly used, and perhaps owned, by persons who are not suspected of a crime. If it is




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nonetheless determined that that it is possible that the things described in this warrant could be

found on any of those computers or storage media, the warrant applied for would permit the seizure

and review of those items as well.

                                             CONCLUSION

       215.    I submit that this affidavit supports probable cause for a warrant to search the

PREMISES described in Attachment A and seize the items described in Attachment B.



                                                            Respectfully submitted,

                                                                                       ____

                                                            Special Agent
                                                            Federal Bureau of Investigation




                                                                  January 14
               Subscribed and sworn telephonically before me on _____________________,

       2022, and I find probable cause.




      TRUE COPY I CERTIFY
      ATTEST: 1/15/22                                 _______________________________
      1A7+$1 2&+61(5, Clerk of Court                  Andrew M. Edison
      By: V*HRUJH.HOQHU                             United States Magistrate Judge
                              Deputy Clerk




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                           ATTACHMENT A

                         Property to be searched
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                           ATTACHMENT B

                           Property to be seized

  1.




                                    1
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  4.




                                   2
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                                   3
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        f.




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                                                                        Page States
                                                                               94 of Courts
                                                                                     105
                                                                                           Southern District of Texas
            Sealed                                                                                &/>ED
Public and unofficial staff access                                                             January 14, 2022
     to this instrument are
   prohibited by court order               UNITED STATES DISTRICT COURT                 EaƚŚĂŶKĐŚƐŶĞƌ, Clerk ofCourt

                                            SOUTHERN DISTRICT OF TEXAS

                                                    HOUSTON DIVISION
                                                                                         4:22-mj-107
           In the matter of the search of                           §       Case No.
                                                                    §
                                                                    §       UNDER SEAL


                 MOTION TO SEAL SEARCH WARRANT AND AFFILIATED DOCUMENTS

                   COMES NOW the United States of America, by and through its attorneys, Jennifer B.

           Lowery, United States Attorney for the Southern District of Texas, and Assistant United States

           Attorney Arthur R. Jones, and moves this Court for an order sealing the affidavit of FBI Special

           Agent                     , submitted in support of the application for a search warrant, the application

           for a search warrant, the search warrant, this motion to seal, any return of service, and any order

           pertaining to this motion to seal, to protect the integrity of the ongoing investigation.

                   RESPECTFULLY SUBMITTED this 14th day of January, 2022.

                                                                    Respectfully submitted,

                                                                    JENNIFER B. LOWERY
                                                                    UNITED STATES ATTORNEY
         TRUE COPY I CERTIFY
         ATTEST: 1/15/22
         1A7+$1 2&+61(5, Clerk of Court              By:             /s/ Arthur R. Jones
         By: V*HRUJH.HOQHU                                        ARTHUR R. JONES
                                  Deputy Clerk                      Assistant United States Attorney
                                                                    Federal Bar No. 32963
                                                                    Texas Bar No. 24051986
                                                                    1000 Louisiana Street, Suite 2300
                                                                    Houston, Texas 77002
                                                                    Phone: 713-567-9357
                                                                    Fax: 713-718-3305
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            Sealed
Public and unofficial staff access
     to this instrument are
   prohibited by court order           UNITED STATES DISTRICT COURT

                                         SOUTHERN DISTRICT OF TEXAS

                                               HOUSTON DIVISION
                                                                                    4:22-mj-107
        In the matter of the search of                        §       Case No.
                                                              §
                                                              §       UNDER SEAL


               ORDER TO SEAL SEARCH WARRANT AND AFFILIATED DOCUMENTS

                The Government’s Motion to Seal the Search Warrant, together with any documents,

        returns, or papers filed in connection with any court-authorized search as referred to in the above

        case caption, is hereby GRANTED.

                Upon receipt of the Search Warrant pertaining to the above locations, the Clerk shall certify

        two copies and deliver the same to the Government agent presenting such documents for filing.

                Thereafter, all papers and documents filed in connection with the Search Warrant and

        Application for a Search Warrant are ORDERED SEALED until further order of this Court.

                SO ORDERED this _______ day of January, 2022.



                                               ______________________________________
                                               ANDREW M. EDISON
                                               UNITED STATES MAGISTRATE JUDGE
                                               SOUTHERN DISTRICT OF TEXAS



        TRUE COPY I CERTIFY
        ATTEST: 1/15/22
        1A7+$1 2&+61(5, Clerk of Court
        By: V*HRUJH.HOQHU
                                Deputy Clerk
                   Case 4:22-mj-00107 Document 16 Filed on 07/03/24 in TXSD Page 96 of 105
AO 93 (Rev. 1/13) Search and Seizure Warrant


                  Sealed                   UNITED STATES DISTRICT COURT
 Public and unofficial staff access
      to this instrument are                                           for the
    prohibited by court order
                                                             SouthernDistrict
                                                         __________   Districtofof__________
                                                                                   Texas

                  In the Matter of the Search of                         )
              (Briefly describe the property to be searched              )
               or identify the person by name and address)               )       Case No.      4:22-mj-107
                                                                         )
                                                                         )
                                                                         )

                                                 SEARCH AND SEIZURE WARRANT
To:       Any authorized law enforcement officer
           An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the                         Southern  District of             Texas
(identify the person or describe the property to be searched and give its location):




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):




        YOU ARE COMMANDED to execute this warrant on or before                 February 1, 2022        (not to exceed 14 days)
      u in the daytime 6:00 a.m. to 10:00 p.m. u at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to         Andrew M. Edison or any U.S. Magistrate Judge       .
                                                                                               (United States Magistrate Judge)

     u Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     u for         days (not to exceed 30) u until, the facts justifying, the later specific datee ooff                                 .


Date and time issued:
                                                                                                       Judge’s
                                                                                                       Judg
                                                                                                       Ju d e’
                                                                                                          dg e’ss sign
                                                                                                                  si
                                                                                                                  signature
                                                                                                                   iggnnattur
                                                                                                                           uree

City and state:              Houston, Texas                                         Andrew M. Edison,
                                                                                                  on United
                                                                                                      Un
                                                                                                       nitted States
                                                                                                           ed S at
                                                                                                              St   e Magistrate
                                                                                                                ates Mag        Judge
                                                                                                     Printed name and title
                   Case 4:22-mj-00107 Document 16 Filed on 07/03/24 in TXSD PageSealed 97 of 105
                                                                   Public and unofficial staff access
AO 93 (Rev. 1/13) Search and Seizure Warrant (Page 2)                   to this instrument are
                                                                       prohibited by court order
                                                              Return
Case No.:                        Date and time warrant executed:            Copy of warrant and inventory left with:
   4:22-mj-107
Inventory made in the presence of :

Inventory of the property taken and name of any person(s) seized:




                                                           Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:
                                                                                    Executing officer’s signature


                                                                                       Printed name and title




        Print                  Save As...                                                                           Reset
                   Case 4:22-mj-00107 Document 16 Filed on 07/03/24 in TXSD Page 98 of 105
AO 93 (Rev. 1/13) Search and Seizure Warrant


                  Sealed                   UNITED STATES DISTRICT COURT
 Public and unofficial staff access
      to this instrument are                                           for the
    prohibited by court order
                                                             SouthernDistrict
                                                         __________   Districtofof__________
                                                                                   Texas

                  In the Matter of the Search of                         )
              (Briefly describe the property to be searched              )
               or identify the person by name and address)               )       Case No.      4:22-mj-107
                                                                         )
                                                                         )
                                                                         )

                                                 SEARCH AND SEIZURE WARRANT
To:       Any authorized law enforcement officer
           An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the                         Southern  District of             Texas
(identify the person or describe the property to be searched and give its location):

                                                                                                                   TRUE COPY I CERTIFY
                                                                                                                   ATTEST: 1/15/22
                                                                                                                   1A7+$1 2&+61(5, Clerk of Court
                                                                                                                   By: V*HRUJH.HOQHU
                                                                                                                                         Deputy Clerk




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):




        YOU ARE COMMANDED to execute this warrant on or before                 February 1, 2022        (not to exceed 14 days)
      u in the daytime 6:00 a.m. to 10:00 p.m. u at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to         Andrew M. Edison or any U.S. Magistrate Judge       .
                                                                                               (United States Magistrate Judge)

     u Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     u for         days (not to exceed 30) u until, the facts justifying, the later specific date of                                                    .


Date and time issued:
                                                                                                       Judge’s signature

City and state:              Houston, Texas                                         Andrew M. Edison, United States Magistrate Judge
                                                                                                     Printed name and title
                   Case 4:22-mj-00107 Document 16 Filed on 07/03/24 in TXSD PageSealed 99 of 105
                                                                   Public and unofficial staff access
AO 93 (Rev. 1/13) Search and Seizure Warrant (Page 2)                   to this instrument are
                                                                       prohibited by court order
                                                              Return
Case No.:                        Date and time warrant executed:            Copy of warrant and inventory left with:
   4:22-mj-107
Inventory made in the presence of :

Inventory of the property taken and name of any person(s) seized:




                                                           Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:
                                                                                    Executing officer’s signature


                                                                                       Printed name and title




        Print                  Save As...                                                                           Reset
                   Case 4:22-mj-00107 Document 16 Filed on 07/03/24 in TXSD Page 100 of 105
AO 93 (Rev. 1/13) Search and Seizure Warrant


                  Sealed                   UNITED STATES DISTRICT COURT
 Public and unofficial staff access
      to this instrument are                                           for the
    prohibited by court order
                                                             SouthernDistrict
                                                         __________   Districtofof__________
                                                                                   Texas

                  In the Matter of the Search of                         )
              (Briefly describe the property to be searched              )
               or identify the person by name and address)               )       Case No.      4:22-mj-107
                                                                         )
                                                                         )
                                                                         )

                                                 SEARCH AND SEIZURE WARRANT
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           An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the                         Southern  District of             Texas
(identify the person or describe the property to be searched and give its location):
                                                                                                                     TRUE COPY I CERTIFY
                                                                                                                     ATTEST: 1/15/22
                                                                                                                     1A7+$1 2&+61(5, Clerk of Court
                                                                                                                     By: V*HRUJH.HOQHU
                                                                                                                                           Deputy Clerk




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person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
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                                                                                               (United States Magistrate Judge)

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§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     u for         days (not to exceed 30) u until, the facts justifying, the later specific date of                                                      .


Date and time issued:
                                                                                                       Judge’s signature

City and state:              Houston, Texas                                         Andrew M. Edison, United States Magistrate Judge
                                                                                                     Printed name and title
                  Case 4:22-mj-00107 Document 16 Filed on 07/03/24 in TXSD PageSealed101 of 105
                                                                   Public and unofficial staff access
AO 93 (Rev. 1/13) Search and Seizure Warrant (Page 2)                  to this instrument are
                                                                      prohibited by court order
                                                              Return
Case No.:                        Date and time warrant executed:            Copy of warrant and inventory left with:
   4:22-mj-107
Inventory made in the presence of :

Inventory of the property taken and name of any person(s) seized:




                                                           Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:
                                                                                    Executing officer’s signature


                                                                                       Printed name and title




        Print                  Save As...                                                                           Reset
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                   01/19/2022, 2:49 p.m          Left at         , no one present @ search conclusion.

                   Seizing Agent - FBI SA         - Qo occupant present at conclusion of search.


                                                                  United States Courts
                                                                Southern District of Texas
                 ***SEE ATTACHED FD-597 RECEIPT FOR PROPERTY***        &/>ED
                                                                            May 18, 2022
                                                                   EaƚŚĂŶKĐŚƐŶĞƌ, Clerk ofCourt




                                                              TRUE COPY I CERTIFY
                                                              ATTEST: May 18, 2022
                                                              1$7+$12&+61(5, Clerk of Court
                                                              By: s/ George Kelner
                                                                                       Deputy Clerk




May 14, 2022


                                                                     , FBI Special Agent
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